hundreds of young girls who came and went from the home she shared with Epstein. Her

testimony is directly refuted by multiple witnesses.




      Chillingly, Rinaldo Rizzo, Defendant’s friend’s house manager, through tears, described

how Defendant tried to force a 15 year old Swedish girl to have sex with Epstein through threats

and stealing her passport.3

      Juan Alessi, Epstein’s house manager, testified that Defendant was one of the people who

procured the over 100 girls he witnessed visit Epstein, and that he had to clean Defendant’s sex

toys.4




3
    See McCawley Decl. at Exhibit 6, Rinaldo Rizzo’s June 10, 2016 Dep. Tr. at 52-60.
4
    See McCawley Decl. at Exhibit 7, Juan Alessi’s June 1, 2016 Dep. Tr. at 28, 52-54.


                                                     2
times. She also spent much of her time feigning incomprehension of simple sentences and

common words, also causing the same question to be posed to her multiple times. For example,

defendant pretended not to understand the question, “Do you believe that Epstein abused

minors?,” causing it to be repeated multiple times.

       Q. . . . do you believe that Jeffrey Epstein abused any minor children?
       A. Can you repeat the question please and break it down so it's more understandable.
       Q. Now that you have the police report that I showed you this morning that you had an
       opportunity to look at.
       A. You gave it to me, I did not look at it.
       Q. The questions that I asked you about the police report -- you are aware there is a
       police report?
       A. I am aware there is a police report.
       Q. You are aware there was a criminal investigation of Jeffrey Epstein?
       A. I am aware that there was that.
       Q. Now that you are aware of those two things and having talked to Jeffrey Epstein, do
       you believe Jeffrey Epstein sexually abused minors?
       A. Can you reask the second part of that question please.
       Q. Sure. The two documents we were talking about, the document and the investigation,
       you said you are aware of and after having talked to Jeffrey Epstein, do you believe
       Jeffrey Epstein sexually abused minors?
       A. What do you mean I talked to Jeffrey, you need to break the question down further.

                                                     ***
       Q. Let's take those two things. After knowing those two things, do you believe that
       Jeffrey Epstein abused minor children?
       A. Can you explain what you mean by the question actually.
       Q. I think the question speaks for itself. I will try again. I will say it one more time
       because I want you to be able to understand it. Knowing that you have the police
       report here and knowing about the criminal investigation, do you believe that Jeffrey
       Epstein sexually abused minors?

This sequence goes on and on. Counsel for Ms. Giuffre had to ask Defendant whether she

believed Epstein abused minors fourteen more times after this exchange. 15 Still, Defendant

never answered the question. See McCawley Decl. at Exhibit 1, Maxwell’s April 22, 2016 Dep.

15
  See McCawley Decl. at Exhibit 1, Maxwell’s April 22, 2016 Dep. Tr. at 170, 171, 173 (twice),
174 (twice), 175 (twice), 176 (twice), 178, 182 (twice), and 183. Counsel for Ms. Giuffre had to
repeat other questions when Defendant did not answer them (e.g., asking about Defendant’s
knowledge of abuse of minors in Epstein’s home, See McCawley Dec. at Exhibit 1, Maxwell’s
April 22, 2016 Dep. Tr. at 90, 168-169).
                                                 5
Tr. at 168:18 - 181:24. It appears that Defendant’s misleading tally of questions posed to her

includes all the times questions were repeated or needlessly re-worded due to her obstructionist

deposition tactics.

         Indeed, Defendant, who claimed her professional role with Epstein was to pay the pool

guy,16 has a master’s degree from Oxford University’s Balliol College. Yet, throughout the

deposition, she feigned incomprehension of basic questions, and even of basic words. Defendant

pretended she did not know what a “puppet” is. See McCawley Decl at Exhibit 1, Maxwell’s

April 22, 2016 Dep. Tr. at 287-290. Other examples of Defendant’s feigned incomprehension of

basic questions to avoid answering questions can be found attached at Exhibit 1, Maxwell’s

April 22, 2016 Dep. Tr. at 8:23-9:18 (pretending she did not know what a “female” is); 51:13 -

54:14 (pretending she didn’t understand what “sexual acts” were); 69:25-71:16 (pretending she

doesn’t know what “sex toys” are); 87:8-91:3 (pretending that the dozens of police reports made

by underage girls abused by Epstein were all “lies”).

         Defendant also repeatedly asked for simple questions to be rephrased, pretending that she

did not understand. Specifically, she requested that questions be repeated or re-asked at least

twenty-eight times. See McCawley Decl. at Exhibit 1, Maxwell’s April 22, 2016 Dep. Tr. at 9,

13, 22, 26, 39, 50, 85, 93, 97, 98, 105, 121, 168-169, 187, 189, 201, 221 (two times), 239, 241,

257, 267, 278-279, 287, 289, 291, 336, and 377. Sometimes changing tact, she also asked for the

questions to be broken down/apart. See McCawley Decl. at Exhibit 1, Maxwell’s April 22, 2016

Dep. Tr. at 26, 93-94, 168-169, 170. Defendant is correct that there was much repetition in her

deposition: many questions were asked multiple times when Defendant did not provide an

answer, and many were asked multiple times at Defendant’s own request.



16
     See McCawley Decl. at Exhibit 1, Maxwell’s April 22, 2016 Dep. Tr. at 50:18-24.
                                                 6
        Defendant complains in her brief about the length of time she was deposed. That, too,

was her own-doing. Her deposition would have been much shorter (and the second one avoided

entirely) if she answered the questions posed to her the first time. Indeed, she was playing

games, giving non-answers, and feigning incomprehension. It was Defendant’s refusal to answer

questions that caused this Court to order her to sit for a second deposition. That could have been

avoided by simply answering the questions the first time. Defendant’s behavior not only wasted

everyone’s time, but revealed that she could provide no answer to those questions that could aid

in her defense.

        Moreover, Defendant put forth a detailed chart to show that certain questions were

“duplicative or redundant,” but, tellingly, did not include Defendant’s responses in the chart. The

reason is clear: Defendant’s non-communicative “non-answers” from her first deposition

necessitated their repetition.

II.     DISCUSSION




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17
  This daytime business address is provided for identification and correspondence purposes only
and is not intended to imply institutional endorsement by the University of Utah for this private
representation.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 12th day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.


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